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      5   Attorney for Defendant,
          RAYLEEN RENEE EIDSON
      6

      7

      8                          IN THE UNITED STATES DISTRICT COURT
      9                        EASTERN DISTRICT OF CALIFORNIA, FRESNO
     10                                           * * * * *
     11
                                                         ) Case No.: CR-F-05-242 OWW
     12   UNITED STATES OF AMERICA,                      )
                                                         ) STIPULATION FOR EXONERATION OF
     13                 Plaintiff,                       ) PROPERTY BOND TO BE REPLACED
                                                         ) WITH CASH BOND AND RECONVEYANCE
     14          vs.                                     ) OF REAL PROPERTY WITH PROPOSED
                                                         ) ORDER
     15   RAYLEEN RENEE EIDSON,                          )
                                                         )
     16                 Defendant.                       )
     17

     18          IT IS HEREBY STIPULATED between the Defendant, RAYLEEN RENEE
     19   EIDSON, by and through her attorney of record, Anthony P. Capozzi,
     20   and   Plaintiff,       by    and    through    Assistant     United    States      Attorney,
     21   Kimberly Sanchez, as well as Pretrial Officer, Lydia Serrano, that
     22   an    Order    be    issued    exonerating       the   property     bond     and   the   real
     23   property in interest be reconveyed in this matter.                          A cash bond in
     24   the amount of $10,000.00 will be placed with the Clerk upon Order of
     25   the Court to reconvey the property.
     26          On September 2, 2005 an original Deed of Trust was posted on
     27   behalf of the Defendant, RAYLEEN RENEE EIDSON, by Michael and Debra
     28   Eidson       (Deed   of     Trust    Receipt     No.   101   7651     and    Recorder     No.


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      1   2055604).       The Straight Note and Deed of Trust were posted in the
      2   amount of $150,000.00.
      3          It is respectfully requested that the property bond in this
      4   matter be exonerated and that the property posted as collateral for
      5   the bond be reconveyed to Michael and Debra Eidson, and that a cash
      6   bond    in    the   amount   of   $10,000.00      be   posted   for   the   Defendant,
      7   RAYLEEN RENEE EIDSON.
      8                                                Respectfully submitted,
      9   Dated:       October 20, 2006
     10                                                     /s/ Anthony P. Capozzi
                                                       Anthony P. Capozzi,
     11                                                Attorney for Defendant,
                                                       RAYLEEN RENEE EIDSON
     12

     13   Dated:       October 20, 2006
                                                            /s/ Kimberly Sanchez
     14                                                Kimberly Sanchez,
                                                       Assistant United States Attorney
     15

     16
          Date:        October 20, 2006
     17
                                                            /s/ Lydia Serrano
     18                                                Lydia Serrano
                                                       United States Pretrial Officer
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                                                   ORDER
      1

      2         IT    IS   HEREBY   ORDERED    that   the      property   bond   in   the   above-
      3   captioned matter be exonerated and title to the real property be
      4   reconveyed to Michael and Debra Eidson.
      5         IT IS FURTHER ORDERED that the Defendant will post a cash bond
      6   with the Court in the amount of $10,000.00.
      7   Dated:       October 24, 2006
      8
                                                       /s/ Oliver W. Wanger
      9
                                                       HONORABLE OLIVER W. WANGER
     10                                                U.S. District Court Judge

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